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AO 91 (Rev. 11/11) Criminal Complaint ;
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UNITED STATES DISTRICT COURT FILED. ° Texas
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Southern District of Texas Davia J
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United States of America ) "K of Court
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Casimiro OLIVAREZ caseno. 19 m\
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Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 7, 2019 in the county of Live Oak in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 922(g)(1) Possessed 1,180 rounds of Winchester .223 caliber ammunition, which was

manufactured outside of Texas, thereby traveling in and affecting interstate
commerce, after being convicted of a crime punishable by a term exceeding
one year.

 

This criminal complaint is based on these facts:

See attached Affidavit

 

@ Continued on the attached sheet. oe

Complainant's signature

 

Richard Miller, Supervisory Special Agent- ATF

Printed name and title

 

 

Sworn to before me and signed in my presence.

Date: Ibo IQ Ltd | Cy

Vy Judge's signature 7
City and state: Corpus Christi, Texas B. Janice Ellington, United States Magistrate Judge

Printed name and title

 

 
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AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT

I, Richard Miller, being duly sworn, depose and state that:

 

l. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF), Department of Justice, and have been so employed since July
16, 2001. Iam a graduate of the United States Department of Treasury Criminal
Investigator Training Program and the ATF National Academy. As a Special
Agent with the ATF, I am vested with the authority to investigate violations of
Federal laws, including Title 18 and Title 26 United States Code. I know that it is
a violation of:

 

18 USC 922 (g)(1), for any person who has been convicted in any court of
a crime punishable by imprisonment for a term exceeding one year; to
possess any firearm or ammunition which has been shipped or transported
in interstate or foreign commerce.

2. Your affiant is familiar with the information contained in this affidavit, either
through personal investigation or through discussion with other law enforcement
officers, who have participated in and have contributed documentary reports of
their investigative efforts in this matter.

3. On May 15, 2019, your affiant reviewed Live Oak County Sheriff’s Office
offense reports regarding their investigation into an aggravated robbery and
vehicle theft that occurred May 7, 2019 in Live Oak County, Texas.

4. The report documents that on May 7, 2019 at approximately 2:45 pm Deputies
were dispatched to reports of a vehicle being stolen at gunpoint from a victim
located at 6281 U.S. Hwy. 281 (BBQ Wagon Restaurant).

5. Upon arrival, Deputy Andres Flores met with the victim identified as Casimiro
OLIVAREZ. OLIVAREZ stated two unknown males stole his pickup from him
at gunpoint in the parking lot of the BBQ Wagon Restaurant. OLIVAREZ
described his stolen vehicle as a beige in color 2005 4-door Chevrolet pickup.
OLIVAREZ stated he was on his way home to Rio Grande City, TX. from San
Antonio when he stopped at the BBQ Wagon Restaurant for a sandwich and his
pickup was stolen.

6. Later the same date Deputies located OLIVAREZ’S pickup truck abandoned near
the location it was stolen from. Deputies impounded the vehicle in order to
process the vehicle for evidence. While inventorying the vehicle Deputies located
several boxes of Winchester .223 caliber rifle ammunition (totaling 1,180 rounds)
inside OLIVAREZ’S vehicle.

 

 
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7. On May 8, 2019, Investigator Daniel Cadell interviewed OLIVAREZ at the Live
Oak County Sheriff's Office. During the interview OLIVAREZ stated On May 7,
2019, he traveled to San Antonio to deliver a motor to a friend. OLIVAREZ
stated while in the San Antonio he purchased four cases of ammunition from a
friend. OLIVAREZ stated that ammunition was in his pickup when it was stole
along with some .40 caliber pistol ammunition in a .40 caliber pistol “clip”.
Investigator Cadell asked OLIVAREZ if he has a .40 caliber pistol for the “clip”
and he stated yes he has an FNX .40 caliber handgun.

8. On May 15, 2019, Live Oak County Investigator Lance Rathke made contact with
your affiant requesting ATF assistance with this investigation. Investigator
Rathke stated OLIVAREZ is a previously convicted felon and was in possession
of 1,180 rounds of Winchester .223 caliber ammunition in Live Oak County on
May 7, 2019. Investigator Rathke also stated Live Oak County S.O. is in
possession of the ammunition found in OLIVAREZ’S vehicle on May 7, 2019.

9. NCIC and Bexar County Texas District Clerk records reflect Casimiro
OLIVAREZ has the following previous felony conviction:

e Cause # 1999-CR-5168 Possession of a Controlled Substance Felony 3
Convicted 9/15/2000. Sentenced to 4 years in State prison.

10. On May 15, 2019, your affiant consulted with ATF Special Agent David Taylor,
Interstate Nexus Expert, regarding the ammunition possessed by OLIVAREZ
described above. S/A Taylor determined the ammunition was manufactured
outside the state of Texas, therefore affecting interstate commerce when the
ammunition arrived in the state of Texas.

11. Based on the above information, your affiant believes Casimiro OLIVAREZ
possessed ammunition manufactured outside the State of Texas, after having been
convicted of a crime punishable by a term of imprisonment exceeding one year,
which is in violation of Title 18, United States Code, Section 922 (g)(1).

  

 

Richard Miller,
Supervisory Special Agent, ATF

 
